


 
   *107
   
  ORDER
 

  Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
 

  IT IS ORDERED that Kevin R. Rees, Louisiana Bar Roll number 2066, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
 

  IT IS FURTHER ORDERED that the Office of Disciplinary Counsel may seek the appointment of a trustee(s) to protect the interests of respondent’s clients pursuant to the provisions of Supreme Court Rule XIX, § 27, if appropriate.
 

  /s/ John L. Weimer Justice, Supreme Court of Louisiana
 
